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 9                           UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11
      DAVID JACOBS,                                   No. 2:22-cv-08010-DOC (KESx)
12
13                      Plaintiff,                    Hon. David O. Carter
                                                      United States District Judge
14          v.                       strict Judge
15                                                    Action filed: November 2, 2022
      ERIC MICHAEL GARCETTI, et al.
16                                                    DECLARATION OF EMERSON H.
                        Defendants.                   KIM
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                            DECLARATION OF EMERSON H. KIM
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 1                           DECLARATION OF EMERSON H. KIM
 2          I, EMERSON H. KIM, declare as follows:
 3          1.     I am an attorney at law duly licensed to practice before all the courts in the
 4    State of California and the United States District Court in and for the Central District of
 5    California. I am a Deputy City Attorney with the Los Angeles City Attorney’s Office,
 6    one of the counsels of record for defendants Eric Michael Garcetti, Paul Krekorian,
 7    Robert Blumenfield, Monica Rodriguez, Marqueece Harris-Dawson, John Lee, Mitch
 8    O’Farrell, Kevin De Leon, and Monique Contreras (collectively, “Defendants”) in this
 9    litigation brought by plaintiff David Jacobs (“Plaintiff”). I am personally familiar with
10    the contents of this declaration, and if called upon to do so, I could and would testify
11    competently thereto under oath.
12          2.     On February 18, 2025, Defendants served interrogatories on Plaintiff.
13    Defendants did not receive any responses or objections to their interrogatories.
14          3.     Attached as Exhibit 1 is a true and correct copy of Defendants’
15    Interrogatories to Plaintiff David Jacobs (Set One).
16          4.     On March 11, 2025, Defendants produced to Plaintiff a copy of the October
17    17, 2025 citation (G75932) and a redacted copy of the body-worn video (“BWV”) of
18    Defendant Contreras.
19          5.     Attached as Exhibit 2 is a true and correct copy of the letter I sent to
20    Plaintiff’s counsel, Mr. Stephen Yagman, including the aforementioned copies of the
21    citation and BWV.
22          6.     On March 28, 2025, I attempted to conduct a meet-and-confer under Local
23    Rule 7-3 by calling Mr. Yagman. The call went to voicemail. I left a message outlining
24    the basis for Defendants’ summary judgment motion.
25          7.     On March 31, 2025, I received an indecipherable voicemail (seemingly due
26    to connection issues) from someone at Mr. Yagman’s firm.
27          8.     On April 2, 2025, I left a voicemail with Mr. Yagman stating that the
28    message was unclear. Later that day, I received a call from A.W. Clark from Mr.
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                           DECLARATION OF EMERSON H. KIM
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 1    Yagman’s firm. He informed me that Mr. Yagman was unavailable due to medical
 2    reasons and would not be returning for several weeks.
 3          9.     On April 7, 2025, I left a voicemail with Mr. Yagman stating that
 4    Defendants would proceed with filing their summary judgment motion due to the motion
 5    cut-off deadline of May 13, 2025, but that they would not object to a late-filed
 6    opposition brief.
 7          I declare under penalty of perjury under the laws of the United States that the
 8    foregoing is true and correct and that this declaration is executed at Los Angeles,
 9    California, on April 14, 2025.
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11                                      By: /s/ Emerson H. Kim
                                            EMERSON H. KIM
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                             DECLARATION OF EMERSON H. KIM
